Case 3:13-cr-03487-WQH Document 123 Filed 04/29/15 PageID.1039 Page 1 of 12



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 8                         UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
10    UNITED STATES OF AMERICA,                     CASE NO. 13CR3487 WQH
11                                   Plaintiff,     ORDER
           vs.
12
      JING WANG,
13
                                   Defendant.
14 Hayes Judge,
15         The matter before the Court is the objection by Defendant to the amount of gain
16 resulting from insider trading pursuant Section 2B1.4 of the United States Sentencing
17 Guidelines in Paragraphs 17, 21, 23, 26, and 29 of the presentence report. (ECF No. 66
18 at 6-10). The presentence report concludes that a 12 level increase is warranted on the
19 grounds that “the gain resulting from the insider trading is more than $200,000 [in this
20 case $244,167 pursuant to U.S.S.G. §2B1.1(b)(F)(G)].” (ECF No. 63 at 12). The
21 presentence report calculates the gain using the price at the time of sale minus the price
22 at the time of purchase to compute gain for each of the three insider trades detailed in
23 the offense conduct.1
24         Defendant does not dispute the purchase prices, sale prices, or the gain at sale
25 from the three trades using insider information in this case. Defendant asserts that the
26 proper calculation of gain is the difference between the purchase price and the value of
27
           1
            Insider Information #1 gain $94,710, PSR Paragraph 17; Insider Information #2 gain
28 $111,468, PSR Paragraph 21, 23; and Insider #3 gain $37,989, PSR Paragraph 26 and 29.

                                                  -1-                              13CR3487 WQH
Case 3:13-cr-03487-WQH Document 123 Filed 04/29/15 PageID.1040 Page 2 of 12



 1 the stock after the insider information is made public, an approach used by the
 2 Securities and Exchange Commission in civil insider trading cases, referred to as the
 3 “market absorption approach.” Defendant contends that the total gain for the three
 4 insider trades using the market absorption approach is $164,231.122 which results in
 5 an increase of 10 levels pursuant to U.S.S.G. §2B1.1(b)(F).
 6         Defendant contends that the calculations in the presentence report do not
 7 accurately represent the amount of gain that resulted from trading on the basis of
 8 material, nonpublic information. Defendant contends that the approach used in the
 9 presentence report includes gain or loss resulting from holding the securities after the
10 insider information is made public and punishes conduct unrelated to the criminal
11 wrongdoing. Defendant Wang contends that the market absorption approach accurately
12 represents the amount of gain that resulted from the criminal conduct of insider trading.
13         The Government contends that the market absorption approach ignores the fact
14 that Defendant maintained a fraudulent advantage over ordinary investors by continuing
15 to own illegally acquired stock. The Government asserts that the Defendant continued
16 to violate Qualcomm policies by holding and then later selling his illegally acquired
17 shares. The Government asserts that Defendant has not provided evidence to support
18 his claim that the market had absorbed the insider information.
19                                    APPLICABLE LAW
20         Section 2B1.4(b)(1)of the United States Sentencing Guidelines Insider Trading
21 states: “If the gain resulting from the offense exceeds $5,000, increase by the number
22 of levels from the table in §2B1.1 (Theft, Property Destruction, and Fraud)
23 corresponding to that amount.” The Commentary to Section 2B1.4 states:
24         Background: This guideline applies to certain violations of Rule 10b-5 that
           are commonly referred to as “insider trading”. Insider trading is treated
25         essentially as a sophisticated fraud. Because the victims and their losses
           are difficult if not impossible to identify, the gain, i.e., the total increase
26         in value realized through trading in securities by the defendant and persons
           acting in concert with the defendant or to whom the defendant provide
27
28         2
             Insider Information #1 gain $14,322; Insider Information #2 gain $111,919.26; and
     Insider #3 gain $37,989.94.

                                                -2-                                   13CR3487 WQH
Case 3:13-cr-03487-WQH Document 123 Filed 04/29/15 PageID.1041 Page 3 of 12



 1         inside information, is employed instead of the victims' losses.
 2 U.S.S.G. § 2B1.4 Commentary.
 3         In United States v. Mooney, 425 F.3d 1093 (8th Cir. 2005), Mooney was the vice
 4 president of underwriting for United Healthcare Corporation. Mooney opened a
 5 margin account in 1990 at a brokerage house and used it solely to invest in United
 6 stock. In 1995, United entered into negotiations to acquire Metra. During the due
 7 diligence inquiries, Mooney directed his stockbroker to sell his United stock and used
 8 part of the proceeds to purchase call options in United stock. Mooney subsequently
 9 sold his call options at a profit months after the public announcement of United’s
10 acquisition of Metra. Mooney was found guilty of “knowingly devising and engaging
11 in a scheme to defraud United and its shareholders through his[] sale of United common
12 stock and his subsequent purchase and sale of United call options, all while in
13 possession of material nonpublic information concerning United’s negotiations to
14 acquire Metra.” Id. at 1098.
15         At sentencing, the district court found that the gain resulting from the offense was
16 the amount realized by the sale of Mooney’s United call options. On appeal, Mooney
17 asserted that a market absorption approach should be borrowed from civil insider
18 trading cases to interpret the guidelines. Mooney asserted that the market would have
19 reasonably absorbed his insider information two days after United announced its Metra
20 acquisition well before his eventual sale of the call options. The Government opposed
21 this approach asserting that this “standard to measure gain is inherently speculative and
22 would require the sentencing court to identify the point at which material nonpublic
23 information is fully assimilated by the market.” Id. at 1099.
24 The Court of Appeals concluded that “the guidelines refers to the defendant’s gain, not
25 to market gain, and it ties gain to the defendant’s offense. It speaks of gain that has
26 resulted, not of potential gain.” Id. at 1009. The Court of Appeals found that the civil
27 law theory presents an imprecise standard particularly inappropriate in the criminal
28 context and concluded that the commentary makes clear that gain is the total profit

                                               -3-                                  13CR3487 WQH
Case 3:13-cr-03487-WQH Document 123 Filed 04/29/15 PageID.1042 Page 4 of 12



 1 actually made from a defendant’s illegal securities transactions.” Id. at 1100.
 2         In dissent, Judge Bright explained that the offense referenced in Section 2B1.4
 3 “is not the purchase of stock itself, but the use of a manipulative or deceptive
 4 contrivance in connection with the purchase. 15 U.S.C. § 78j(b); 17 C.F.R. §
 5 240.10(b)-5.” Id. at 1106. Judge Bright concluded that the “‘gain resulting from the
 6 offense’ is not the gain resulting from the purchase. It is rather the gain resulting from
 7 the deception.” Id. Judge Bright concluded that the interpretation of the guidelines
 8 adopted by the majority did not adequately provide uniformity of sentences for similarly
 9 situated defendants. Using an example of three individuals who bought stock at the
10 same time, with the same insider’s knowledge at the same price, but held the stock for
11 different periods of time after the insider information was publicly disclosed resulting
12 in different gain after sale, Judge Bright explained:
13         Larry, Moe, and Curly committed the same crime, with the same effect on
           the market. If the “gain resulting from the offense” were the gain from the
14         deception, the Guidelines would suggest the same increase (of two levels)
           over the base offense level for Larry, Moe, and Curly. See U.S.S.G. §
15         2B1.4; § 2B1.1(b). On the court's interpretation, however, Larry would
           receive a two-level increase, for a $10,000 gain, Moe a six-level increase
16         for a $45,000 gain, and Curly no increase at all, because he lost money on
           the purchase. See id. If these increases were applied to a base offense
17         level of 17 for a defendant with a criminal history category of I, as in
           Mooney's case, they would translate into additional minimum prison time
18         of six months in Larry's case, a year and ten months in Moe's case, and no
           additional time in Curly's case. As I have noted above, the court's
19         interpretation means unequal justice for equal crimes.
20         As the Supreme Court has recently said, the basic purpose of the
           Guidelines “was to move the sentencing system in the direction of
21         increased uniformity,” a uniformity that consists of “similar relationships
           between sentences and real conduct[.]” Booker, 125 S.Ct. at 761. It is
22         unreasonable to apply the Guidelines in a way that would lead to such
           disparate sentences for similarly situated defendants whose real conduct
23         was identical. Such an application would create a
           through-the-looking-glass inversion of the Guidelines—advising unequal
24         sentences for identical crimes—defeating the chief purpose of the
           Guidelines.
25
     425 F.3d at 1007.
26
           In United States v. Nacchio, 573 F.3d 1062 (10th Cir. 2009), Defendant Nacchio
27
     was convicted of nineteen counts of insider trading covering trades he made from April
28
     26, 2001 to May 29, 2001; he was acquitted of twenty-three counts covering earlier

                                              -4-                                 13CR3487 WQH
Case 3:13-cr-03487-WQH Document 123 Filed 04/29/15 PageID.1043 Page 5 of 12



 1 trades. At sentencing, the district court used the total net profit from the stock sales
 2 during the April-May 2001 time period as a starting point. The district court subtracted
 3 the amount withheld for taxes and concluded that the “true gain” was “the total increase
 4 in value realized through trading.” Id. at 1069.        Nacchio asserted on appeal that
 5 “includ[ing] for sentencing purposes the total amount he made on the stock sales as gain
 6 is punishing him for the normal appreciation in... shares..., which had nothing to do with
 7 the offense charged... Nacchio assert[ed] that the “market absorption” approach should
 8 be utilized.” Id. at 1069.
 9         The Court of Appeals stated:
10         we conclude that the district court's gain computation approach does not
           square with the plain language of the relevant guideline, U.S.S.G. § 2F1.2,
11         and its commentary; therefore, we reject it. We further determine that it
           was incumbent upon the district court to adopt a realistic, economic
12         approach (1) that would take into account that Mr. Nacchio's offense did
           not inhere in his sale of the shares itself, but in the deception intertwined
13         with the sales due to his possession of insider knowledge, and (2) that
           consequently would endeavor to compute his gain for sentencing purposes
14         based upon the gain resulting from that deception.
15 Id. at 1071-1072. The Court of Appeals concluded that “the general application
16 instructions in the [Guidelines] support the circumscription of the gain computation to
17 that gain resulting from the deceptive nature of the action.” Id. at 1073. The Court of
18 Appeals concluded that the approach taken by the district court failed to exclude
19 unrelated market factors from the gain computation. “Nacchio’s increased prison
20 sentence should be linked to the gain actually resulting from the offense, not to gain
21 attributable to legitimate price appreciation and the underlying inherent value of the []
22 shares.” Id. at 1075.
23         The Court of Appeals found that the disgorgement approach from civil
24 jurisprudence provides the appropriate approach “[b]ecause it seeks to strip the
25 wrongdoer of ill-gotten gains and deter improper conduct.” Id. at 1079. The Court of
26 Appeals explained:
27         The plain language of § 2F1.2 supports the notion that an insider trading
           defendant's “gain” should not consist of the total amount that the
28         defendant realized from his or her stock sales, but should be limited more
           specifically to the gain that resulted from trading with insider knowledge.

                                               -5-                                  13CR3487 WQH
Case 3:13-cr-03487-WQH Document 123 Filed 04/29/15 PageID.1044 Page 6 of 12



 1         Section 2F1.2(b)(1) prescribes an increase corresponding to “the gain
           resulting from the offense.” The essence of the offense of insider trading
 2         is not the trading itself—standing alone, a lawful act—but trading on the
           basis of insider information. 15 U.S.C. § 78j(b); 17 C.F.R. §
 3         240.10b5–1(a); cf. Mooney, 425 F.3d at 1105 n. 9 (Bright, J., dissenting)
           (“[T]he plain language of the statute makes it clear what ‘the offense’ is.”).
 4
           In other words, a corporate insider who trades without knowledge of
 5         material, nonpublic information is not committing the offense; nor is a
           corporate insider who has such inside information but does not trade while
 6         possessing it. Both elements—knowledge and deceptive action—are
           necessary to complete the offense. ...
 7
           Because mere trading does not constitute criminal insider trading, it
 8         logically follows that any gain associated with lawful trading should not
           be considered gain as used to increase a prison sentence. Cf. United States
 9         v. Yeaman, 194 F.3d 442, 456–57 (3d Cir.1999) (“[T]he plain meaning of
           ‘resulted from’ connotes causation.”) (alteration in original) (internal
10         quotation marks omitted) (discussing the Guidelines calculation of a loss
           amount under § 2F1.1 based on “ ‘all harm that resulted from the acts and
11         omissions specified’ ”) (quoting U.S.S.G. § 1B1.3 (1997)). As the Mooney
           dissent explained:
12
                 [I]t is not enough to define “gain.” We then must know what
13               “the offense” is, because the guideline does not look to
                 “gain” simply, but to the “gain resulting from the offense.”
14               Indeed, simply to take the definition of gain without limiting
                 it to gain “resulting from the offense” would lead to absurd
15               results. It is not all the defendant's stock gains—over an
                 entire lifetime of stock trading, perhaps—that count[ ], but
16               only the stock gains “resulting from the offense.”
17         Mooney, 425 F.3d at 1105 n. 9 (Bright, J., dissenting).
18 Id. at 1072-1073.
19         In United States v. Rajaratnam, 2012 WL 362031 (S.D.N.Y. 2012), Defendant
20 was convicted of conspiracy to commit and the commission of various insider-trading
21 schemes after selling his shares of stock on negative inside information. The
22 Government calculated the gain “by taking the difference between the price at which
23 a security was purchased (or sold short) on the basis of insider information, and the
24 price at which it was later sold (or covered) following the relevant public
25 announcement, and then multiplying by the number of shares.” Id. at *1. Rajaratnam
26 offered an alternative methodology through an expert witness which purported to
27 “isolate the price increase or decrease in a company’s stock attributable to the public
28 announcement of inside information regarding a company from the price increase or

                                                -6-                                  13CR3487 WQH
Case 3:13-cr-03487-WQH Document 123 Filed 04/29/15 PageID.1045 Page 7 of 12



 1 decrease attributable to events that happened to coincide with the announcement.” Id.
 2 at *2.
 3          The district court examined the conclusion of the Court in Nacchio that “an
 4 insider trading defendant’s ‘gain’ should not consist of the total that the defendant
 5 realized from his or her stock sale, but should be more limited specifically to the gain
 6 that resulted from trading with insider information.” 573 F.3d at 1072. The district
 7 court rejected the reasoning in Nacchio that “a single trade can be divided into ‘trading
 8 with insider knowledge’ and trading on the bases of public information.” Id. at *6. The
 9 district court explained that “measuring insider trading gains based on the value of the
10 inside information misinterprets ‘offense’ because it rests on the false premise that
11 insider trading has legal and illegal parts for purposes of that term.” Id. at *6.
12 However, the district court agreed with Judge Bright that the concerns for uniformity
13 in sentencing must limit the gain calculation in the guidelines to gain resulting from the
14 offense of insider trading and avoid the ups and downs of the stock market unrelated to
15 the insider knowledge. The district court explained:
16          The core of [Judge Bright’s] disagreement with the Mooney majority was
            that section 2B1.4 refers not only to the defendant's “gain” but to his “gain
17          resulting from the offense.” Judge Bright reasoned that a court “cannot
            know what the ‘gain resulting from the offense’ is, without first knowing
18          what ‘the offense’ is.” Id. at 1105 (Bright, J., dissenting). Judge Bright
            went on to point out that the offense in Section 10b–5 “is not the purchase
19          of stock itself, but the use of a manipulative or deceptive contrivance in
            connection with the purchase.” Id. at 1106 (quoting 15 U.S.C. § 78j(b))
20          (emphasis in original). Based on that definition of “the offense,” Judge
            Bright reasoned as follows:
21
                  The gain resulting from the deception stops when the
22                deception stops, though there may be later gain (or loss) as
                  the stock market gyrates along, unmolested by any deception.
23                If someone buys stock illegally on the basis of insider
                  knowledge, there may be an increase in the stock's value
24                when the insider knowledge is made public. That increase is
                  illicit, resulting from a kind of deception to the other buyers
25                and sellers of the stock. After the market adjusts to this
                  information and the deception is ended, the value of the stock
26                will, of course, continue to fluctuate according to the
                  ordinary, legitimate vagaries of the market—with no
27                deception—and thus, no offense under 15 U.S.C. §
                  78j—involved. Thus, if the person holds the stock for another
28                five years after the insider knowledge has been made public,

                                                -7-                                  13CR3487 WQH
Case 3:13-cr-03487-WQH Document 123 Filed 04/29/15 PageID.1046 Page 8 of 12



 1                   the value of the stock will continue to rise or fall regardless
                     of the prior deception.
 2                   Id.
 3         Judge Bright also concluded that, “[e]ven if the plain language of the
           statute did not clearly tell us what ‘the gain resulting from the offense’ is,”
 4         the Mooney majority's conclusion would “not promote uniformity.” Id.
           “To the contrary,” in Judge Bright's view, the majority's position “could
 5         result in unequal sentences for equal crimes.” Id. at 1106–07. To make that
           point, Judge Bright used a series of examples similar to those discussed in
 6         the previous subsection. See id. at 1107.
 7         As applied to measuring gains based on stock price movements after the
           announcement of inside information, Judge Bright's reasoning is
 8         persuasive in a way that the Nacchio court's is not.
 9         Again, in a nutshell, the Nacchio court's reasoning rests on the false
           premise that a single trade can be divided into “trading with insider
10         knowledge” and trading on the basis of public information. Where inside
           information is a factor in a defendant's decision to trade, that person has
11         committed a crime. In deciding to do so, the defendant assumes the risk
           that factors beyond his or her control—here market conditions—will
12         exacerbate the seriousness of that crime. And where the essence of the
           crime is gaining a risk-free advantage over other investors, there is nothing
13         unjust about punishing a defendant when the very risks his crime enabled
           him to avoid have come to pass.
14
           However, the core of Judge Bright's dissent is that once the inside
15         information has become public the insider has lost his illegal advantage.
           That vitiates the justification for saddling a defendant with market risks.
16
     Id. at *9-10.
17
                                    RULING OF THE COURT
18
           In this case, the Defendant was a senior executive at Qualcomm, Inc., an issuer
19
     of securities under the federal securities laws. Qualcomm’s shares of common stock
20
     were traded on the NASDAQ Stock Exchange. In March 2006, Defendant instructed
21
     his Merrill Lynch broker to “set up a company as Unicorn in the [British Virgin Islands]
22
     [to act as a nominal account holder] and to make it appear that [his brother] was the
23
     beneficial owner of the company.” (Plea Agreement, ECF No. 59 at 5).
24
           In or about March 2006, [Defendant] opened a new Merrill Lynch
25         brokerage account in Unicorn’s name (the Unicorn account”). To create
           this account [Defendant] provided documents to [his broker] that gave the
26         false impression that [his brother] would be the beneficial owner of the
           Unicorn Account.
27
     Id.
28

                                                  -8-                                  13CR3487 WQH
Case 3:13-cr-03487-WQH Document 123 Filed 04/29/15 PageID.1047 Page 9 of 12



 1         In 2008, Defendant was designated as an officer of an issuer under Section 16 of
 2 the Securities Exchange Act of 1934. “Because of [Defendant’s] senior position at
 3 Qualcomm, he was subject to certain restrictions involving the purchase and sale of
 4 Qualcomm securities, in part due to his access to confidential business information.”
 5 Id. at 4. “On or before March 1, 2010, because of his position at Qualcomm,
 6 [Defendant] learned material, non-public information... (Insider Information #1) ... at
 7 a closed meeting of Qualcomm’s Board of Directors.” Id. On March 1, 2010, “soon
 8 after the Insider Information #1 was discussed at the Qualcomm Board meeting,”
 9 Defendant called his broker and instructed his broker to “use all of the assets in the
10 UNICORN account to purchase Qualcomm stock.” Id. The broker purchased 7,700
11 shares of Qualcomm stock in the Unicorn account at $36.07 per share.
12         This trade by [Defendant] violated Qualcomm’s Insider Trading policy, as
           the company’s “trading window” was closed. And [Defendant] was not
13         permitted to execute trades in Qualcomm stock during this time. Both
           [Defendant] and [his broker] knew that [Defendant] was required to report
14         his trades in Qualcomm stock to the company (pursuant to corporate
           policy) and to the U.S. Securities and Exchange Commission (“SEC”)
15         (pursuant to federal securities law). In violation of these requirements,
           and in contrast to previous trading in Qualcomm stock by [Defendant],
16         both [his broker and Defendant] did not report this trade to Qualcomm or
           the SEC. [Defendant] willfully caused these trades and did so with an
17         intent to deceive by using material non-public information he obtained as
           a result of his position at Qualcomm, thereby breaching his duty to
18         Qualcomm and its shareholders.
19 Id. at 6.
20         The public announcement of the insider information was made on March 1, 2010.
21   “By the end of the next trading day, Qualcomm’s stock price had traded as high as
22 $39.50-an increase of over 10% from the pre-announcement price.” (Presentence
23 Report, ECF No. at 6). On March 2, 2010, the stock closed at $ 37.93. Defendant’s
24 gain to the end of the day on March 2, 2010 was $14,322. Over the next ten months
25 until the sale in December 2010, the stock closed at a low of $31.96 on July 2, 2010 to
26 a high of $49.73 on December 30, 2010. (ECF No. 66-3 at 5-9). Defendant sold the
27 stock at $48.37 per share on December 30, 2010, in order to complete the trade with
28 insider information #2. The price appreciation upon the sale of the stock was a result

                                             -9-                                13CR3487 WQH
Case 3:13-cr-03487-WQH Document 123 Filed 04/29/15 PageID.1048 Page 10 of 12



  1 of the initial appreciation at the time the non-public information came out on March 2,
  2 2010, and continued appreciation during the remainder of 2010.
  3        Three trades based upon insider information form the basis of the offense
  4 conduct. The difference between the calculation of gain in the presentence report and
  5 the calculation of gain by the Defendant results from the March 2010 stock purchase
  6 based upon insider information referred to in the presentence report as the Insider
  7 Information #1. Defendant contends that the proper calculation of gain from Insider
  8 Information #1 is gain measured from the purchase of the stock on March 1, 2010 until
  9 March 2, 2010, the end of the trading day when the inside information became public,
10 resulting in a gain of $14,322.3 Probation and the Government contend that the proper
11 calculation of gain from Insider Information #1 is gain measured from the purchase of
12 the stock on March 1, 2010 until the Defendant’s sale of the stock on December 30,
13 2010 resulting in a gain of $94,710.
14         U.S.S.G. Section 2B1.4 directs the court to increase the base offense level by the
15 number of levels in §2B.1.1 based upon “the gain from the offense.” U.S.S.G. §
16 2B1.4(b)(1). This provision of the Guidelines reference the offense committed by this
17 Defendant in violation of 15 U.S.C. § 78j(b) and 17 C.F.R. §240.10b-5. 15 U.S.C.
18 Section 78j(b) states that “It shall be unlawful for any person, directly or indirectly...
19 (b) to use or employ, in connection with the purchase of sale of any security ... any
20 manipulative or deceptive device or contrivance in contravention of such rules and
21 regulations as the Commission may prescribe.” 15 U.S.C. § 78j(b).
22         Two significant criminal sentencing issues guide the courts in an attempt to
23 properly calculate the gain under U.S.S.G. § 2B1.4. Courts seek to limit “the gain
24
25         3
            The court does not make a factual finding that the market had taken into account
   the full value of the insider information by the close of the trading on March 2, 2010.
26 However, the Court accepts the Defendant’s position that the stock price information
   in the record (Ex. B to the Hennigan Declaration ECF No. 66-3 at 5-9) is sufficient to
27 establish that the full value of the insider information would have been taken into
   account before any rise in the stock price that would support a gain figure of more than
28 $200,000 pursuant to U.S.S.G. § 2B1.1(b)(1)(G). See also ECF No. 109.

                                              - 10 -                              13CR3487 WQH
Case 3:13-cr-03487-WQH Document 123 Filed 04/29/15 PageID.1049 Page 11 of 12



  1 figure resulting from the offense [to] exclude[] to the extent possible within the
  2 institutional constraints of criminal sentencing, factors unrelated to the defendant’s
  3 criminally culpable conduct” Nacchio, 573 F.3d at 1080. In addition, the courts seek
  4 to avoid application of the Guidelines “in a way that leads to [] disparate sentences for
  5 similarly situated defendants whose real conduct was identical.” Mooney, 425 F.3d at
  6 1107, Bright, dissent.
  7         In this case, Defendant admitted as a factual basis for his plea of guilty to 15
  8 U.S.C. Section 78j(b) that the March 2010 stock purchase was based upon insider
  9 information. Holding the stock after the insider information was disclosed to the public
10 lead the court to the conclusion that any of the gain from the rise in the stock price was
11 lawful gain. Defendant was required to disclose all of his purchases under the SEC
12 regulation and did not disclose the purchase of this stock at any time.
13          In this case, Defendant violated the law by making the purchase based upon
14 deception. Defendant then held the stock unlawfully until he sold the stock for the
15 purpose of engaging in another insider transaction. However, the guideline direct the
16 court to increase the base offense level by the gain from the offense of the deception of
17 insider trading, that is, the use of a “manipulative or deceptive contrivance in
18 connection with the purchase.” 15 U.S.C. § 78j(b). As Judge Bright explained:
19          The gain resulting from the deception stops when the deception stops,
            though there may be later gain (or loss) as the stock market gyrates along,
20          unmolested by any deception. If someone buys stock illegally on the basis
            of insider knowledge, there may be an increase in the stock's value when
21          the insider knowledge is made public. That increase is illicit, resulting
            from a kind of deception to the other buyers and sellers of the stock. After
22          the market adjusts to this information and the deception is ended, the value
            of the stock will, of course, continue to fluctuate according to the ordinary,
23          legitimate vagaries of the market—with no deception—and thus, no
            offense under 15 U.S.C. § 78j—involved. Thus, if the person holds the
24          stock for another five years after the insider knowledge has been made
            public, the value of the stock will continue to rise or fall regardless of the
25          prior deception.
26 Id.
27          While no part of the Defendant’s conduct relating to the December 2010 purchase
28 and sale of the Qualcomm stock was legal conduct, the Court concludes that the gain

                                                - 11 -                                13CR3487 WQH
Case 3:13-cr-03487-WQH Document 123 Filed 04/29/15 PageID.1050 Page 12 of 12



  1 calculation under U.S.S.G. § 2B1.4 must be limited to the gain resulting from the
  2 deception of trading with insider knowledge in order to avoid an unreasonable
  3 application of the guidelines. Including gain from holding the stock after the insider
  4 information was publicly disclosed in violation of Qualcomm policies would result in
  5 different sentences for the same violation of law based solely upon the market
  6 conditions during the period prior to sale contrary to the goals of the Sentencing
  7 Guidelines. See United States v. Booker, 543 U.S. 220, 253 (2005) (“Congress' basic
  8 goal in passing the Sentencing Act was to move the sentencing system in the direction
  9 of increased uniformity.”). For the same reasons that Guidelines would not require a
10 decrease in a sentencing range pursuant to U.S.S.G. § 2B1.4 when market factors
11 unrelated to the insider knowledge caused the stock price to decrease, it is not
12 reasonable to increase the sentencing range pursuant to U.S.S.G. § 2B1.4 when market
13 factors unrelated to the insider information caused the stock price to increase. The
14 Court finds that the proper measure under Section 2B1.4 is the gain that resulted from
15 trading with insider knowledge. The sentencing guideline range cannot move up or
16 down based upon movement in market price of the stock unrelated to the deception
17 forming the offense conduct. The record shows by a preponderance of the evidence that
18 the total gain resulting from the three insider trades is more than $120,000 and less than
19 $200,000.     The Court will apply the 10 level increase pursuant to U.S.S.G. §
20 2B1.1(b)(1)(F). Defendant’s objection to the gain calculation at Paragraph 56 of the
21 presentence report is sustained.
22 DATED: April 29, 2015
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                                              WILLIAM Q. HAYES
24                                            United States District Judge
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